Case 9:18-ap-01058-DS   Doc 265 Filed 08/20/20 Entered 08/20/20 08:33:28   Desc
                         Main Document     Page 1 of 8
Case 9:18-ap-01058-DS   Doc 265 Filed 08/20/20 Entered 08/20/20 08:33:28   Desc
                         Main Document     Page 2 of 8
Case 9:18-ap-01058-DS   Doc 265 Filed 08/20/20 Entered 08/20/20 08:33:28   Desc
                         Main Document     Page 3 of 8
Case 9:18-ap-01058-DS   Doc 265 Filed 08/20/20 Entered 08/20/20 08:33:28   Desc
                         Main Document     Page 4 of 8
Case 9:18-ap-01058-DS   Doc 265 Filed 08/20/20 Entered 08/20/20 08:33:28   Desc
                         Main Document     Page 5 of 8
   Case 9:18-ap-01058-DS         Doc 265 Filed 08/20/20 Entered 08/20/20 08:33:28             Desc
                                  Main Document     Page 6 of 8




Defendants intend to move for summary judgment and/or summary adjudication of issues.




                                                                8/20/2020
                                                            Blank Rome LLP


                                                          /s/ Craig N. Haring


                                                           Craig N. Haring


                                                                     Def. Gladstone Investment Corporation
Case 9:18-ap-01058-DS   Doc 265 Filed 08/20/20 Entered 08/20/20 08:33:28   Desc
                         Main Document     Page 7 of 8
Case 9:18-ap-01058-DS     Doc 265 Filed 08/20/20 Entered 08/20/20 08:33:28     Desc
                           Main Document     Page 8 of 8

  1                                      SERVICE LIST
  2
                United States Bankruptcy Court – Central District of California
  3                                  Northern Division
                                 Case No. 9:18-AP-01058-DS
  4                                Our File No. 03349.801
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